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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LG ELECTRONICS INC. AND )
LG ELECTRONICS ALABAMA, INC., )
) CASE NO. 2021-CV-2600
Plaintiffs, )
) DECLARATION OF YING LU IN
Vv. ) SUPPORT OF DEFENDANTS W&L
) TRADING LLC AND TOP PURE (USA),
THE PARTNERSHIPS AND ) INC.’s MOTION TO TRANSFER
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED IN SCHEDULE A )
)
Defendants. )

 

I, Ying Lu, declare as follows:

1. This declaration is based on my personal knowledge of the facts stated herein or
on business records that were made at the time in the regular course of business. If called as a
witness, I could and would testify to the statements made herein.

Ds I am the manager for W&L Trading LLC d/b/a as AQUALINK.

3. W&L Trading was formed in the state of Texas on January 4, 2017. W&L’s
principal address is 1827 Peppervine Rd, Frisco, TX, 75033.

4, W&L does not have any presence in the state of Illinois. W&L does not have any
employees, salespeople, distributors, agents, bank accounts, or real estate in the state of Illinois.
W&L does not own, lease, or use any office located in the state of Illinois.

S: W&L sells its products through Amazon. Neither I nor anyone on my company’s
behalf has ever directed our promotions to target consumers in the state of Illinois. To my
knowledge, Amazon simply advertises and sells our products to anyone who wants to buy them,
wherever they are.

6. W&L does not represent in its promotional material or anywhere else that it has a

place of business located in Illinois.
 

 

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7. I do not speak English but can read it with the aid of translation software. I

reviewed this declaration in this manner and with English-fluent colleagues.

I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information, and belief.

Signed: July ]3 , 2021 py._ling Lu
J

 
